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              '\':tAO 245D (CASD) (Rev. I112) Judgment in a Criminal Case for Revocations
, ~ ...                    Sheet I
                                                                                                                                          FILED
                                                        UNITED STATES DISTRICT COURT 12 JUL f 7 Ai1 fJ: 25
                                                              SOUTHERN DISTRICT OF CALIFORNIA
                              UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE&>~ IW'UT'
                                                   V.                                        (For Revocation of Probation or Supervised Release)
                                CORINA MARIE BOHN (3)                                        (For Offenses Committed On or After November I, 1987)


                                                                                             Case Number: IOCR3716 WQH

                                                                                              MARTIN MOLINA
                                                                                             Defendant's Attorney
             REGISTRATION No. 21831298
          o THE DEFENDANT:
             I£] admitted guilt to violation of aUegation(s) No._l_-_3_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
             o was found in violation ofallegation(s) No.                                                             after denial of guilt.
             ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


             Allegation Number                        Nature of Violation
                       1               Unlawful use of a controlled substance, Violent Crime Control Act
                       2               Failure to participate in drug aftercare program
                       3               Failure to report as directed




               Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                     _4_ of this judgment.
            This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


                     IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
            change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
            fully paid. If ordered to pay restitution, the defendant shall notify the court and Umted States Attorney of any material change in the
            defendant's economic circumstances.

                                                                                            JULY 16,2012
                                                                                            Date oflmposition of Sentence




                                                                                            HON. WILLIAM Q. HAYES
                                                                                            UNITED STATES DISTRICT




                                                                                                                                               IOCR3716 WQH
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AO 245D (CASD) (Rev. J1I2) Judgment in a Criminal Case for Revocations
           Sheet 2 - Imprisonment

                                                                                                          Judgment - Page     2      of       4
DEFENDANT: CORINA MARIE BOHN (3)
CASE NUMBER: lOCR3716 WQH
                                                                 IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         9 MONTHS




    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                       Oa.m.          Op.m.        on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

   o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o     before
                  -------------------------------------------------------------------
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN
I have executed this judgment as follows:

        Defendant delivered on                                                             to

at __________________ , with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL


                                                                            By
                                                                                 -------------D-E~P-UT~Y~UN~JT~E~D~ST~A~TE~S~M~AR~S~H~AL~------------




                                                                                                                                  lOCR3716 WQH
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 AO 245D (CASD) (Rev. 1/12) Judgment in a Criminal Case for Revocations
            Sheet 3 - Supervised Release
                                                                                                              Judgment-Page __
                                                                                                                             3 _ of _ _4.:.....__
 DEFENDANT: CORINA MARIE BOHN (3)                                                                    o
 CASE NUMBER: IOCR3716 WQH
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 18 MONTHS

          The defendant shall report 10 the probation office in the district 10 which the defendant is released within 72 hours of release from
 the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
For offonses committed on or after September J3, J994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          ­
D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 The  defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
    Backlog Elimination Act of2000,pursuant to 18 USC sections 3563(a)(7) and 3583(d).
D byThethedefendant shall comply with tHe requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
            probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifYing offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement ofthe term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
       a felony, unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer 10 visit him or her at any time at home or elsewhere and shall permit confIscation of any
       contraband observed in plain view of the probation officer;
I I)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter inlo any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
13)    as directed by the probation officer, the defendant shall notifY third parties ofrisks that may be occasioned by the defendant's criminal
       record or personal hislory or characteristics and shall permit the probation officer to make such notifications and to confirm the
       defendant's compliance with such notification requirement.
                                                                                                                                    IOCR37 I 6 WQH
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         AD 245D (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
                    Sheet 4 - Special Conditions


        DEFENDANT: CORINA MARIE BOHN (3)
        CASE NUMBER: lOCR3716 WQH
                                                                                                   ..   Judgment-Page   --i.- of _ _4~_ _




                                                SPECIAL CONDITIONS OF SUPERVISION
 I8J Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
     reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
     search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
     this condition.

D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
I8J Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
I8J Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
D Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drup; or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
   officer, if directed.
D Provide complete disclosure ofpersonal and business fmancial records to the probation officer as requested.
D 'Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within            days.
D Complete             hours of community service in a program approved by the probation officer within
I8J Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to 120 days.
I8J Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




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